                      Case 2:21-cv-00611-NBF Document 1-1 Filed 05/07/21 Page 1 of 22
                                                                                                                                  EXHIBIT
                                         Allegheny Countv Department Of Court Records
                                                               Civil/Familv Division Docket Report
                                                                                                                                  A
Run Date and Time: 5/7/2021 -14:37:10

 GD-21-003175
                                                                                                                   Andrews etal vs D2 Logistics Inc.etal
   Filing Date:
   4/1/2021


   Related Cases:


   Consolidated Cases:


   Judge:
   NoJudge


   Amount In Dispute:




   Case Type:
   Motor Vehicle Acddent


   CourtType:
   General Docket


   Current Status:
   Praecipe for Appearance


   Jury Requested:
   J



                                                                          -Parties-

LName                FName    Ml       Type             Address                                      Initial Service Completion      Attorney

Andrews              Martha            Plaintiff                                                                                     Scott D. Glassmith
Andrews              Leonard Scott     Plaintiff                                                                                     Scott D. Glassmith
Gibson               Dwaine            Defendant       237 Alexander Street Newark NJ 07106                                          JohnTPion
D2Logisticslnc.                        Defendant       52 Butler Street Elizabeth NJ 07206                                           JohnTPion

                                                                         -Attorney-
LName       FName Ml Type                          Address                                                                                  Phone
Glassmith   Scott    D. Plaintiff'sAttorney        700 Grant Building 310 Grant Street Pittsburgh PA 15219                                  4122812200
                         Defendant's               PION, NERONE, GIRMAN etal P.C. 1500 One Gateway CenterSuite 400 Pittsburgh PA
Pion        John     T                                                                                                                      4122812288
                         Attorney                  15222

                                                                       —Non
                                                                          Litigants—
LName                         FName                           Ml           Type                  Address                          Phone
                 Case 2:21-cv-00611-NBF Document 1-1 Filed 05/07/21 Page 2 of 22
LName                iFName                  |MI         |Type                [Address                     1 Phone
                                                    No Litigants Found

                                                     -Docket Entries-
Filing Date        Docket Type                                   DocketText                     Filing Party
4/23/2021          Praecipe for Appearance                       For Defendants.                JohnPionT
4/1/2021           Complaint                                                                    MarthaAndrews

                                                   -Judgments Against-
Name                       Amount                                 Satisfied(Y,N)
                                                   No Judgments Found

                                                    -Events Schedule-
EventScheduled             EventDate&Time
                                                          EIRoomNumber
                                                   No Information Found
                                                                                         Judge/Hearing Officer
                Case 2:21-cv-00611-NBF Document 1-1 Filed 05/07/21 Page 3 of 22

WritofComplaint                                                                                       Page 1 of 1


 NOTICE OF SUTT TO SHERIFF OF ALLEGHENY CO.
 You are hereby nodfied that on 04/01/a021
 a COMPLAINT has been filed m this case
 and you are required to serve the same on or before the
 05/01/2021
 Michael McGeever, Director
 Department of Court Records
                                                      COMPLAINT IN CIVBL ACTION
                        IN THE COURT OF COMMON PLEAS OFALLEGHENY COUNTY, PENNSYLVANIA
 PIaintiff(s)                                                   Case Number:
                                                                GD-21-003175
      Andrews, Martha
                                                                Type ofpleading:
      Andrews, Leonard Scott                                    Complaint

                                                                Filedonbehalfof:
                                                                Andrews Martha

                                                                Glassmith D. Scott
                                                                (Name of filing party)
 Defendant(s)                                                 vs
                                                                       Counsel ofRecord
       Gibson, Dwaine
                                                                       Individual, IfPro Se
       D2 Logistics Inc.,
                                                                Name, Address and Telephone Number:
                                                                GIassmith D. Scott
                                                                700GrantBuilding
                                                                310 Grant Street
                                                                Fittsburgh, PA, 15219
                                                                4122812200
                                                                4123919600
                                                                Attomey's State ID: 27557




                                   Michael MeGeever, Director, Department ofCourt Records




https://dcr.alleghenycounty.us/CivilA^iew/Intemal/WritOfComplaint.aspx?CaseID=GD-21-003tl/T6^iSEffi
                 Case 2:21-cv-00611-NBF Document 1-1 Filed 05/07/21 Page 4 of 22

       Supreine cg                              ^ylvania
            Cou                                leas                       For ProthoHoiavy Use Offlyf                      /:.
                                                                                                                                     ,*-
                                                                          Docket No:
                                                      County               GO'ai-5176
     The information collected on thisform is used solely for court administrationpurposes, This form does not
     si^lementor Feptaee the^ling-and service e^p^ffffi^ or otherpap.ers as reqtweS'^ law or rules p/coiirt.
   Commencement ofAction:
       Complaint           10 WritofSuimnons               J Petition
$;   3 Transfer from Another Jurisdiction                  3 DeclarationofTaldng
8i LeadPlaintiffsName;
fi'::
li'^ Martha Andrews and Leonard Andrews
                                                                           Lead Defeudant's Name:
                                                                            D2 Logistics, Inc. and Dwaine Gibson
                                                                             Dollar Amount Requested:        Qwithin arbitration limits
i^'
^'.\
       Are money damages requested? Ei Yes                           No
                                                                                   (check one)                loutside arbitration limits

w-     Is this a ClassAction Suifi                    'es            No       Is this an MDJAppeaP.                   Yes                  No

            Name ofPlaintifG'Appellant's Attomey: Scott D. Glassmith
                            Check here ifyou have no attorney (are a SeIf-Represented [Pro Se] Litigant)

       PiTattui"e;Qftbe.Gas6;     Place an "X" to the lefit ofthe ONE case categoiy that most accurately describes yoiir
                                  PRfMARY CASE, Ifyou are maldng more than one type of claim, check the oiie that
                                  you consider most important.

       TORT (do mt imlude Mass Tort)              CONTRACT fthnoi include Juifgments)           CTVIL APPEALS
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                                                      'E'ebt
                                                                                                 Administrative Agencies
            Malicious Prosecution                  El        SQUeegQH: Credit CsS-d                 Board of^ssess
            Motor Vehicle                          P   Debt  Collection: Other                   Q Board;()^|lei:iEHris'||
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            Nuisance                                                                              3 Dept. o^§itSspOtt@i
         3 Premises Liability                                                                                          •ys
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"E.      3product Liability (does not wchide
            mass tort)                                Q Employment Dispute:
                                                                                                                             -t-


•c          Slander/Libel/ Defamation
            Other:
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       MASS TORT
Q        31 Asbestos
N       Q Tobacco
        31 Toxic Tort - DES
         3 Toxic Tort - Implant                   REAL PROPERTY                                 MISCELLANEOUS
            Toxic Waste                                 Ejectment                                E| Comrapn Law^a.UltSry Arbitra&aii
            Other:
                                                    3 Eminent Domain/Condeimiation               Q.Declaratory    ludgnl&nt
B                                                   .11 Ground Rent
                                                                                                   °I
                                                                                                      Mandamus
                                                   D ^anaioi-ayTenant Elispute                    31 Nou-Domestic Relations
                                                   Oj Mortgage ForeclosiB-p^ Residential              Restraining Order
       PROPESSIONAL LIABLITY                       U Mortgage Foreclosure: Commercial            Ul Quo Wan-anto
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         3 Legal                                    3 Quiet Title                                 VIOther;
           Medical                                 Cl Other:
           Other Professional:



                                                                                                                           Updated 1/1/2011
      Case 2:21-cv-00611-NBF Document 1-1 Filed 05/07/21 Page 5 of 22

                      -n                             f'n


     IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA
                              CIVIL DIVISION


MARTHA ANDREWS and                            No.^0^1-3f7^
LEONARD ANDREWS,

        Plaintiffs,                           JURY TRIAL DEMANDED

V.


D2 LOGISTICS, INC. and                        COMPLAENT
DWAmE GIBSON,

        Defendants.                           Filed on behalfofPlaintiffs

                                              Counsel ofrecord for this party:

                                              ScottD.Glassmith,Esq.
                                              PAID #27557
                                              sdg@gislaw.com

                                              Gismondi & Associates, P.C,
                                              Firm#858

                                              310GrantStreet
                                              Suite 700
                                              PittsburghPA 15219

                                              412-281-2200tel
                                              412-281-6302fax

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     Case 2:21-cv-00611-NBF Document 1-1 Filed 05/07/21 Page 6 of 22
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  IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA
                           crviLDrvisiON


                                           NOTICE

         You have been sued in court. Ifyou wish to defend against the claims set forth in the
followmg pages, you must take action within twenty (20) days after this complaint and notice are
served, by entering a written appearance personally or by attorney and filing in writing with the
court your defense or objections to the claims set forth against you. You are warned that ifyou
fail to do so, the case may proceed without you and ajudgment may be entered against you by the
court without further notice for any money claimed in the complaint or for any other claim or
reliefrequested by the plaintiff. You may lose money or property or other rights important to
you.

     YOU SHOULD TAKE TfflS PAPER TO YOUR LAWYER AT ONCE. IF YOU
DO NOT HAVE A LAWYER, GO TO OR TELEPHONE THE OFFICE SET FORTH
BELOW. THIS OFFICE CAN PROVIDE YOU WITH INFORMATION ABOUT
mRINGALAWYER.

     IF YOU CANNOT AFFORD TO HIRE A LAWYER, THIS OFFICE MAY BE
ABLE TO PROVIDE YOU WITH mFORMATION ABOUT AGENCIES THAT MAY
OFFER LEGAL SERVICES TO ELIGIBLE PERSONS AT A REDUCED FEE OR N0
FEE.


                             Lawyer Referral Service
                             AUegheny County Bar Association
                             400 Koppers Building
                             436 7th Avenue, 3rd Floor
                             Pittsburgh, PA 15219
                             (412) 261-5555
     Case 2:21-cv-00611-NBF Document 1-1 Filed 05/07/21 Page 7 of 22

                           n                                         •n


                             CERTIFICATE OF COMPmANCK

       I certify that this filing complies with the provisions ofthe Public Access Policy ofthe

Unified Judicial System ofPennsylvania: Case Records ofthe Appellate and Trial Courts that

require filing confidential information and documents differently than non-confidential

information and documents.



                                     Submitted by; Gismondi & Associates P.C.

                                     Signature:.
                                                                          ^
                                     Name: Scott D. Glassmith

                                     AttorneyNo. 27557
     Case 2:21-cv-00611-NBF Document 1-1 Filed 05/07/21 Page 8 of 22




  IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA
                           CWIL DIVISION


MARTHA ANDREWS and
LEONARD SCOTT ANDREWS,

                       Plaintiffs,                   No.

          V.

D2 LOGISTICS, INC. and
DWAINE GIBSON,

                       Defendants.


                               GOMPLAINT m CIVIL AGTlON


          AND NOW, come the Plaintiffs, Martha Ajidrews and Leonard Scott Andrews, by and

through their attorney, Scott D. Glassmith, Esquire, and file the following Complaint in Civil

Action:

          1.    Plaintiff, Martha Andrews, is an adult individual and resident ofthe State of

Virginia.

          2,    PlaintifF, Leonard Scott Andrews, is an adult individual and resident ofthe State

ofVirginia,

          3.    Defendant Dwaine Gibson is an adult individual residing at 237 Alexander Street,

Newark, Essex County, New Jersey, 07106.

          4,    Defendant D2 Logistics Inc. is a corporation incorporated in New Jersey with a

principal place ofbusiness located at 52 Butler Street, Elizabeth, New Jersey, 07206,

          5,    At all times material hereto, Defendant Dwaine Gibson was acting within the

scope ofhis duties as an employee, agent, and servant ofD2 Logistics Inc,
     Case 2:21-cv-00611-NBF Document 1-1 Filed 05/07/21 Page 9 of 22

                               i                                       i   ]




       6.      Defendants regularly do business throughout the Commonwealth of Pennsylvania,

including Allegheny County.

       7.      On or about September 30,2019, Defendant Dwaine Gibson was traveling

northboiuid on Interstate 81 in Dauphin County, Peimsylvania.

       8.      Rather than wait in traffic with the other drivers traveling northbound, Defendant

Dwaine Gibson made an illegal U-tum through a cross-median rneant to be used for emergency

turn-arounds only.

       9.      When making the illegal U-turn, Defendant Dwaine Gibson crossed the left-hand

passing lane and attempted to immediately enter the right-hand lane.

       10.     At the time Defendant Dwaine Gibson made the illegal U-turn, Plaintiff Leonard

Scott Andrews was operating a vehicle traveling southbound on Interstate 81 in Dauphin County,

Pennsylvania. PlaintiffMartha Andrews was a front-seat passenger in the PlaintiffLeonard Scott

Andrews's vehicle.

       11.     Plaintiff Leonard Scott Andrews did not have any time to stop his vehicle, and the

front end ofthe Plaintiffs' vehicle collided with Defendant Dwaine Gibson's truck^trailer.

       12,     Plaintiff Martha Andrews and Plaintiff Leonard Scott Andrews sustained injuries

in the collision and were transported by ambulance to Milton S. Hershey Medical Center, The

Plaintiffs' vehicle was towed from the scene ofthe accident.

       13,     Plaintiff Martha Andrews and Plaintiff Leonard Scott Andrews's injuries and

damages, as more fully set forth herein, are a direct and factual result ofthe Defendants'

negligence, jointly, severally, and individually as more fully set forth herein.
     Case 2:21-cv-00611-NBF Document 1-1 Filed 05/07/21 Page 10 of 22

                             .")




                                 COUNT I - P^E^LIGENCE
                               Martha Andrews v. Dwaine Gibson

        14.    All preceding paragraphs ofthis Complaint are incorporated by reference as ifthe

same were fiilly set forth at length herein.

        15.    The Plaintiff s injuries and damages are a direct and factual result of the

negllgence and reckless indifference to others conduct ofDefendant Dwaine Gibson as follows:

               a. In making an illegal U-turn using a cross-median for emergency tum-arounds;

               b. In. making an unproper entrance to the highway;

               c. In failmg to pay proper and reasonable atteation to other vehicles on the road;

               d, In failing to follow the rules ofthe road;

               e. In driving into the Plaintiff s lane of travel;

               f.   In causing the collision with the PlaintifTs vehicle; and

               g. In otherwise failing to exercise reasonable care and caution under the
                    circumstances.

        16.    Directly and factually as a result of the negligence of Defendant Gibson, the

 Plamtiffhas suffered the followmg severe and serious injuries, some ofwhich may be

 permanent m nature:

               a. Right distal ulnar fracture;

               b. Non-displaced manubrial fracture;

                c, Retrosternal hematoma;

                d. Right lower abdominal wall contusion;

                e. Right aiikle fracture;

                f. Left kiiee pain;

                g. Bruising of the left breast and abdomen;
    Case 2:21-cv-00611-NBF Document 1-1 Filed 05/07/21 Page 11 of 22
                              .'")                                      I   1




                h. Hematoma of left forehead;

                i.   Concussion;

                j.   Extensor tenosynovitis of the right wrist;

                k. High grade full thickness tear ofthe triangular fibrocartilage complex;

                1.   Early b'aumatic arthritis of the carpometacarpal joint of the right thumb;

                m. Radial tuimel syndrome;

                n. Lateral epicondylitis ofthe right elbow; and

                o. Surgical scarring.

       17,      Directly and factually as a result of Defendant Dwaine Gibson's negligence, the

Plaintiffhas suffered the following damages:

             a, Plaintiff has incurred in the past, and may incur in the future, substantial medical
                expenses;

             b. Plaintiffhas suffered in the past, and may suffer in the fature, substantial pain,
                suffering, embarrassment, and inconvenience:

             c. Plaintiffhas sustained in the past, and may sustain in the fi-iture, wage loss and
                loss ofearning capacity;

             d. Plaintiffhas sustained in the past, and may sustain in the future, loss of certain
                pleasures oflife;

             e. Plaintiffhas sustained disfigurement; and

             f. Plaintiff has sustained loss of consortium.

       18,       Defendant Dwaine Gibson's conduct on or about September 30, 2019 was

outrageous as he acted in a malicious, wanton, willful, and/or oppressive manner. Moreover,

Defendant Dwaine Gibson's conduct showed a reckless indifference to the interests ofothers;

Thus, Plaintiffseeks punitive damages against Defendant Dwaine Gibson.
    Case 2:21-cv-00611-NBF Document 1-1 Filed 05/07/21 Page 12 of 22

                            ^                                        ^



       WHEREFORE, the Plaintiff, Martha Andrews, demands judgement against Defendant

Dwaine Gibson, in an amount in excess ofthe applicable arbitration limits.


                                COUNT II - NEGLIGENCE
                             Martha Andrews^v. D2 Loeistics Inc.

       19.     All the preceding paragraphs of this Complaint are incorporated by reference as if

the same were fully set forth at length herein.

       20.     Defendant, D2 Logistics Inc., by and through its servants, agents, and/or

employees, was negligent, careless, and/or reckless inthe followingparticulars:

               a. Defendant is vicariously liable for acts and omissions ofits employee, agent,
                  and/or servant Defendant Dwaine Gibson;

               b, In failing to properly train defendant driver Dwaine Gibson;

               c. In failing to properly investigate the background of defendant driver Dwaine
                  Gibson;

               d. In negligently hiring defendant driver Dwaine Gibson; and

               e. In allowing defendant driver Dwaine Gibson to operate its vehicle when they

                   knew or should have known he was not qualified to do same,

       21.     Directly and factually as a result ofthe negligence ofDefendant D2 Logistics

 Inc,, the Plaintiffhas suffered the following severe and serious injuries, some ofwhich may be

 permanent in nature:
               a. Right distal ulnar fracture;

               b, Non-displaced manubrial fracture;

               c. Retrosternal hematoma;

               d. Right lower abdominal wall contusion;

               e. Right ankle fi-acture;
    Case 2:21-cv-00611-NBF Document 1-1 Filed 05/07/21 Page 13 of 22

                                                                       ^



               f. Left knee pain;

               g, Bruising of the left breast and abdomen;

               h, Hematoma of left forehead;

               i.   Concussion;

               j. Extensor tenosynovitis of the right wrist;

               k, High grade full thickness tear ofthe triangular fibrocartilage complex;

               1. Early traumatic arthritis of the carpometacarpal j oint of the right thumb;

               m. Radial tmmel syndrome;

               n, Lateral epicondylitis ofthe right elbow; and

               o. Surgical scarring.

       22.     Directly and factually as a result ofDefendant D2 Logistic Inc.'s negligence, the

Plaintiffhas suffered the following damages:

               a, Plaintiffhas incurred in the past, and may incur in the fature, substantial
                  medical expenses;

               b. Plaintiff has suffered in the past, and may suffer in the future, substantial pain,
                  suffering, embarrassment, and inconvenience;

               c, Plaintiffhas sustamed in the past, and may sustain in the future, wage loss aiid
                  loss ofeaming capacity;

               d. Plaintiff has sustained in the past, and may sustain in the future, loss of certain
                  pleasures oflife;

               e. Plaintiffhas sustained disfigurement; and

               f.   Plaintiff has sustained loss of consortium.


       WHEREFORE, the Plaintiff, Martha Andrews, demands judgement against Defendant

D2 Logistics Inc,, in an amount in .excess of arbiti-ation limits.
     Case 2:21-cv-00611-NBF Document 1-1 Filed 05/07/21 Page 14 of 22
                                                                      ^l




                                COUNT III - NEGLIGENCE
                           Leonard Scott Andrews v. Dwaine Gibson

       23,     All the preceding paragraphs of this Complaint are mcorporated by reference as if

the same were fully set forth at length herein.

       24.     The Plaintiffs injuries and damages are a du-ect and factual result ofthe

negligence and reckless iadifference to others conduct ofDefendant Dwaine Gibson as follows:

               a. In making an illegal U-turn using a cross-median for emergency turn-arounds;

               b. In making an improper entran.ee to the highway;

               c. In failing to pay proper and reasonable attention to other vehicles on the road;

               d. In failing to follow the rules ofthe road;

               e, In driving into the Plaintiffs lane oftravel;

               f, In causing the collision with the Plaintiffs vehicle; and

               g. In otherwise failing to exercise reasonable care and caution under the
                   clrcumstances.

       25,     Directly and factually as a result ofthe negligence ofDefendant Dwaine Gibson,

 the Plaintiff has suffered the following severe and serious injuries, some of which may be

 permanent in nature:

               a. Fracture at the base ofthe third metacarpal;

               b. Upper chest pain;

               c. Pacial abrasions;

               d. Hamstring pain; and

               e. Timiitus.

        26.    Directly and factually as a result ofDefendant Dwaine Gibson's negligence, the

 Plaintiffhas suffered the following damages:
    Case 2:21-cv-00611-NBF Document 1-1 Filed 05/07/21 Page 15 of 22




               a. Plaintiffhas incurred in the past, and may incur in the future, substantial
                  medical expenses;

               b. Plaintiffhas suffered in the past, and may suffer in the future, substantial pain,
                  suffering, embarrassmenf, and inconvenience;

               c. Plaintiffhas sustained in the past, and may sustain in the ftiture, wage loss and
                  loss ofearning capacity;

               d, Plaintiffhas sustained in the past, and may sustain in the future, loss of certain
                  pleasures oflife; and
               e. Plaintiff has sustained loss of consortiiun.

       27.     Defendant Dwaine Gibson's conduct on or about September 30,2019 was

outrageous as he acted in a malicious, wanton, willful, and/or oppressive manner. Moreover,

Defendant Dwaine Gibson's conduct showed a reckless indifference to the interests ofothers.

Thus, Plaintiffseeks punitive damages against Defendant Dwaine Gibson.



       WHEREPORE, the Plaintiff, Leonard Scott Andrews, demandsjudgement against

Defendant Dwaine Gibson, in an amount in excess ofarbitration limits.


                                COUNT IV - ]ME<3UGENCE
                          LeonardScottAndrCTit'^v,.I)2LogisiticsJuc,

       28,     All the preceding paragraphs of this Complaint are incorporated by reference as if

the same were fully set forth at length herein.

       29.     Defendant, D2 Logistics Inc., by and through its servants, agents, and/or

employees, was negligent, careless, and/or reckless in the following particulars:

               a, Defendant is vicariously liable for acts and omissions ofits employee, agent,
                  and/or servant Defendant Dwaine Gibson;

               b. Pailing to properly train Defendant driver Dwaine Gibson;
   Case 2:21-cv-00611-NBF Document 1-1 Filed 05/07/21 Page 16 of 22
                            •n

             c, Failing to properly investigate the background of defendant driver Dwaine
                Gibson;

             d. In negligently hiring Defendant driver Dwaine Gibson; and

             e, In allowing Defendant driver, Dwaine Gibson to operate its vehicle when they

                 knew or should have known he was not qualified to do same.

      30,    Du'ectly and factually as a result ofthe negligence ofDefendant D2 Logistics

Inc., the Plaintiffhas suffered the following severe and serious injuries, some ofwhich may be

permanent in nature:
             a, Fracture at the base of the third metacaipal;

             b, Upper chest pain;

             c. Facial abrasions;

             d. Hamstring pain; and

             e. Tinnitus,

      31.    Directly and factually as a result of Defendant D2 Logistics Inc.' s negligence, the

Plaintiffhas suffered the following damages:

             a. Plaintiffhas incurred in the past, and may incur in the future, substantial
                medical expenses;

             b. Plaintiff has suffered in the past, and may suffer in the future, substantial pain,
                suffering, embarrassment, and inconvenience;

             c. Plaintiffhas sustamed in the past, and may sustam in the future, wage loss and
                loss ofearning capacity;

             d. Plaintiff has sustained in the past, and may sustain in the future, loss of certain
                pleasures oflife; and

              e. Plaintiff has sustained loss of consortium.
    Case 2:21-cv-00611-NBF Document 1-1 Filed 05/07/21 Page 17 of 22
                           n

       WHEREFORE, the Plaintiff, Leonard ScottAndrews, demands judgement against

Defendant D2 Logistics Inc., in aa amount in excess ofarbitration limits.



       JURY TRIAL DEMANDED.


                                                            Respectfully submitted by:


                                                                                 "^^
                                                            Scott D. Glassmith, Esquire
                                                            Attorney for Plaintiffs




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Case 2:21-cv-00611-NBF Document 1-1 Filed 05/07/21 Page 18 of 22

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provided for in Rvl& 10.24 ofthe Pemisylvania Rules of Civil Procedure.




Bated   ^M•z-^-^/
Case 2:21-cv-00611-NBF Document 1-1 Filed 05/07/21 Page 19 of 22
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   made subjsc't to the penalties of 18 ^CtS.A.- Seetion 490^ leNting to vnswolft'.falsifioation to
   authorities and is glven pursuantto the provjslons for ys(Jt0oatioH ofpleadings as defmed and

   provided for in Rule 1024 ofthe Peimsylvaniasg.ules ofGivilProoedyte.




   ^teds,      ^^^
      Case 2:21-cv-00611-NBF Document 1-1 Filed 05/07/21 Page 20 of 22
                                                                         No.GD 21-3175




     IN THE COURT OF COMMON PLEAS OF ALLEGHENY COUNTY, PENNSYLVANIA



MARTHA ANDREWS and LEONARD              CIVIL DIVISION
ANDREWS,
                                        No.GD 21-3175
             Plaintiffs,
                                        Issue No.
V.
                                        PRAECIPE FOR APPEARANCE
D2 LOGISTICS, INC. and DWAINE
GIBSON,                                 Code:

             Defendants.               Filed on behalfofD2 Logistics, Inc. and
                                       Dwaine Gibson, Defendants

                                       Counsel ofrecord for these parties:

                                       John T. Pion, Esquire
                                       PA I.D. #43675
                                       iDion(a!Dionlaw.com

JURY TRIAL DEMANDED                    Paul A. Custer, Esquire
                                       PA I.D. #87628
                                       Dcuster@,Dionlaw.com

                                       PION, NERONE, GIRMAN, WINSLOW
                                       & SMITH, P.C.
                                       1500 One Gateway Center
                                       Pittsburgh, PA 15222
                                       412-281-2288
    Case 2:21-cv-00611-NBF Document 1-1 Filed 05/07/21 Page 21 of 22


                                                                                   No.GD 21-3175


   IN THE COURT OF COMMON PLEAS OF ALLEHENY COUNTY, PENNSYLVANIA
                            CIVIL DIVISION


MARTHA ANDREWS and LEONARD                      )
ANDREWS,                                        )
                                                )
              Plaintiffs,                       )
                                                )
       V.                                       )     No.GD 21-3175
                                                )
D2 LOGISTICS, INC. and DWAINE                   )
GIBSON,                                         )
                                                )
              Defendants                        )


                             PRAECIPE FOR APPEARANCE

To the Department ofCourt Records/Civil Division:

       Kindly enter the appearance ofJohn T. Pion, Esquire, Paul A. Custer, Esquire and Pion,

Nerone, Ginnan, Winslow & Smith, P.C. in the above-captioned matter on behalfofDefendants,

D2 Logistics, Inc. and Dwaine Gibson.


                                                    Respectfully submitted,

                                                    PION, NERONE, GIRMAN, WINSLOW
                                                    & SMITH, P.C.


                                                    By_       U.tA) 1 fli^^-
                                                           Jo&i T. Pion
                                                           Paul A. Custer

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                                                    Counsel for Defendants, D2 Logistics, Inc.
                                                    and Dwaine Gibson.
    Case 2:21-cv-00611-NBF Document 1-1 Filed 05/07/21 Page 22 of 22

                                                                                   No.GD 21-3175



                                 CERTIFICATEOF SERVICE


       I hereby certify that a true and correct copy ofthe foregoing Praecipe for Appearance was

served upon counsel ofrecord via email this 23rd day ofApril, 2021, as follows:


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                                   (Attorneyfor Plaintiffs)



                                                   By_         J^-^L/ /                  •
                                                                                  ; tA^--—
                                                           Johri T. Pion
